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                        EXHIBIT 33
                                                                           EXHIBIT 33
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 2
                     IN THE CIRCUIT COURT OF THE STATE OF OREGON
 3
                                FOR THE COUNTY OF JACKSON
 4

 5   In the Matter of:

 6   HEIDI MARIE BROWN,                               Case No. 23CN05721

 7                        Petitioner,                 MOTION FOR REMOTE
                                                      APPEARANCE AT HEARING TO
            and                                       SHOW CAUSE
 8
     ARNAUD PARIS,
 9

10                        Respondent, Pro Per.

11

12
     I, Arnaud Paris, Respondent Pro Per in the above-captioned case, moves this court fo
13
     an order allowing Father, respondent, to appear remotely from France for the hearing to
14
     show cause and any other hearings in this matter for the following reasons:
15
            1.     I am physically not able to travel to the United States as this court and
16
     Mother have ensured that my US passport would be revoked by making abusive, illegal
17
     child support orders regarding children that don't live in the United States, they live in
18
     France with Father per a French Judgment that is in full force and effect in Oregon since
19
     it has been registered in Multnomah County under case number 23DR16534 and no
20
     decision has been made by the court to reject it to this date. (See attached Exhibit 01) .
21
            2.     These abusive illegal child support orders fQr children who don't even live
22
     in the US have clearly been made by Mother and this court to harass Father and to
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 1   prevent him from travelling to the United States since they knew that they would result in

 2   Father's passport being immediately revoked while Father has appealed of these orders

 3   since they are totally illegal, a state court can't make child support orders who children

 4   that live in another country per a custody order registered in another state of Oregon. Bu

 5   until a court has heard the objections of Father his passport is revoked and he is unable

 6   to travel to the United States since his French Passport is expired and he doesn't have

 7   the financial means to pay the Child Support Order to release his passport while awaiting

 8   a decision from the administrative court.

 9          3.     Mother and this court have created a situation in which they are forcing

1O   Father to appear in person at a show cause hearing with potential criminal consequences

11   while keeping him from travelling to the US since Father doesn't have any other valid

12   passport currently other than his US passport that has been revoked (his French passpo

13   is expired). This is nothing less than a "setup" to obtain a default contempt order agains

14   Father without due process, which is exactly what this court has been doing agains

15   Father for more than 6 months. The Jackson County court can't participate in this kind o

16   abusive and bad faith legal strategies from Mother, this court has no other option but to

17   allow Father to appear remotely in the current situation since Father cannot travel to the

18   US due to this court's direct actions.

19          4.     I am a French resident living in Paris, and ·1 have been granted custody o

20   Eva and Juliette Paris, the children I had with Miss Brown, per a French judgement dated

21   April 2P1 2023 registered in Oregon in May 9th 2023, and improperly and illegall

22   invalidated by the Jackson County court in August 18th 2023, since I wasn't given due

23   process in these proceedings (I was summarily forbidden to participate while present,
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 1   willing and able to appear and participate remotely during these proceedings).

 2          5.     The French court in Paris confirmed this first French judgment in Augus

 3   25 th 2023 by entering a second judgment reinstating that France did have jurisdiction ove

 4   these children and that considering the high risk of Miss Brown taking the children bac

 5   to Oregon in violation of the French judgement, her visitation time would have to happen

 6   in France and the children weren't allowed to leave France until further notice.

 7          6.     Miss Brown refused to comply with a formal commitment she made through

 8   French lawyers in France in July 2022 to return to France at the end of the 2022-2023

 9   school year in Oregon with our children. I am therefore the only parent caring for ou

10   children in France currently and I am unable to attend these proceedings in person in the

11   Jackson County Court.

12          7.     I don't have the financial means to keep going back and forth between

13   France and the US to attend these proceedings, I also have no residence in the US. The

14   ongoing litigation that Miss Brown has been extending over me for more than a year in

15   Oregon while there was already a litigation happening in France for the same children (I

16   was first to file and first to serve and first to judgment) is now making it simply impossible

17   for me to face financially these proceedings in person in Oregon while caring for m

18   children in France per the French judgement that was rejected in the Jackson Count

19   court without due process.

20          8.     Miss Brown, her counsel and this court are trying to make another clea

21   denial of due process in my regards and to impose on me pure and simple "blackmail" to

22   force me to bring back the children to the US while they are in France under a French

23   judgment, in the middle of a school year, and there is a restraining order in place to
                                                   3
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 1   prevent them from leaving France since Miss Brown made it clear she wouldn't respec

 2   the French judgments or the French judicial system and she is a high risk of kidnapping

 3   the children.

 4          9.       If Miss Brown truly had a case in this matter when she claims that I

 5   'abducted' the children to France she would logically have started a Hague action in

 6   France which she hasn't. The Jackson County court isn't the appeal court of France; this

 7   court and Miss Brown ought to respect the French judicial system (and the international

 8   principle of Committee) and have to stop making a mockery of it in the Oregon courts.

 9   Miss Brown and her counsels lead this court to violate more than half a dozen state and

1O federal statutes so far in these proceedings and this has turned into a clear personal

11   vendetta from Miss Brown, her counsel, and the Jackson County court against me.

12          10.      This matter was filed, served, decided and adjudicated first in France. This

13   court violated several of its obligations along the course of these proceedings that could

14   have avoided this terrible situation. One of them was its obligation to confer with the

15   French judge before the French determination was made but this court refused to do so

16   last April while a motion had been filed by Father specifically for that reason.

17          11.      If 'this court had respected its obligation to read and consider my motions

18   properly filed over the last six months, it would also see clearly that the Oregon court has

19   no jurisdiction in this matter and this was nothing more than a forum shopping case from

20   Miss Brown who committed perjury to and manipulated the Jackson County court from

21   the very beginning in order to escape the French judicial system regarding the custody o

22   our children.

23   //
                                                   4
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            12.   Any remedy Miss Brown is seeking regarding custody of the children will

 2   have to happen in France, continuing litigation in front of the Jackson County Court is

 3   made only to harass Father as it has been the case since the beginning since this matte

 4   was to be dealt with in France. Miss Brown and her counsel have to stop making

 5   mockery of both the Oregon and the French judicial system by ignoring the very reason

 6   the UCCJEA was created for, which is to prevent precisely what Miss Brown and he

 7   counsels have been doing: forum shopping and trying to create a conflicting competing

 8   custodial determination while one has already been made per the UCCJEA standards in

 9   another state.

10          13.   Miss Brown's manipulation of the Jackson County Court is unacceptable,

11   and I need to be allowed to appear remotely at this hearing to show cause after my motion

12   for reconsideration of Judge Orr to be disqualified has been properly addressed by

13   another Judge to be given a chance to explain why this contempt is abusive, improper,

14   illegal, and made in bad faith by Mother. A mistrial or a disqualification of Judge Orr in

15   this matter are the only solution to stop this mockery of both the Oregon and the French

16   judicial systems especially as Judge Orr has shown to not be impartial in this matter and

17   has made improper comments about French people and the French judicial system in

18   open court and has repeatedly denied me due process in these proceedings. The motion

19   I filed concurrently to ask for reconsideration of my motion for disqualification of Judge

20   Orr needs ot be addressed first before this motion for remote appearance is to be decided

21   per ORS 14.250.

22   II

23   //
                                                 5
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            I hereby declare that the above statement is true to the best of my knowledge

 2   and belief, and that I understand it is made for use as evidence in court and is subject to

 3   penalty for perjury of the laws in the state of Oregon.

 4

 5   Prepared on February 22nd 2024 in Paris and sent to the court by FEDEX

 6

 7

 8
     By:_
 g   ARNAUD PARIS, Respondent, Pro Per
     13 rue Ferdinand Duval ,
10   75004, PARIS, FRANCE
     Telephone: +33688283641
     Email: aparis@sysmicfilms.com
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 2                                   CERTIFICATE OF SERVICE

 3      I hereby certify that I served the foregoing MOTION FOR REMOTE APPEARANCE
        AT HEARING TO SHOW CAUSE on the following party:
 4
                                             Heidi Marie Brown
                                              2256 Abbott Ave
 5
                                            Ashland, OR 97520
                                          heidimparis@qmail.com
 6
                                                Respondent
 7                                       Taylor L.M. Murdoch,
                                          Buckley Law P.C.
 8                                  5300 Meadows Road, Suite 200
                                       Lake Oswego, OR 97035
 9                                      TLM@buckley-law.com
                                   Last Known Attorney for Respondent
10
     By the following method or methods:
11   _ _ by mailing full, true, and correct copies thereof in sealed, first class postage
     prepaid envelopes, addressed to the attorneys(s) as shown above, the last known office addre s of
12   the attorney(s), and deposited with the United States Postal Service at Portland, Oregon on the date
     set forth below.
13
      __ by emailing full, true, and correct copies thereof to the attorney(s) at the email address
     _X
      shown above, which is the last known email address for the attorney(s) office, on the date set f rth
14
      below.
15   _ _ by faxing full, true, and correct copies thereof to the attorney(s) at the fax number(s)
     shown above, which is the last known fax number for the attorney(s) office, on the date set fort
16   below. The receiving fax machines were operating at the time of service and the transmission as
     properly completed.
17
     _ _ by selecting the individual(s) listed above as a service contact when preparing this electr nic
     filing submission, thus causing the individual{s) to be served by means of the court's electroni filing
18   system.

19   : : p ~ u a r ; 22nd 2024 in Paris and sent to the court by FEDEX
20

21
     ARNAUD PARIS, Respondent, Pro Per
22   13 rue Ferdinand Duval
     75004, PARIS, FRANCE
23   Telephone: +33688283641- Email: aparis@sysmicfilms.com
                                                     7
24


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